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                                           UNITED STATES DISTRICT COURT
                                                   District of Oregon

                             NOTICE OF JUDICIAL REASSIGNMENT



 Date of Reassignment:                                                       November 25, 2024
 Case Number:                                                             6:20−cv−01163−MTK
 Case Title:                                                    McGuffin et al v. Dannels et al


     (A)   Case Reassignment: In accordance with the Court's Case Management Plan, the
above−captioned case has been reassigned from the Honorable Mustafa Kasubhai to the Honorable
Mustafa T. Kasubhai, United States District Judge. Information on this case may be obtained from the
following:

       Case Status or Scheduling Information:            541−431−4100
       Filing or Docket Entry Information:               Telephone: 541−431−4100


     (B)    Place of Filing: Unless electronically filed, an original and copy of all documents will be
filed with the Clerk's Office, Wayne L. Morse Courthouse, 405 East Eighth Ave., Eugene, OR, 97401.

    (C)     Change to the Case Number: Effective immediately, Judge Kasubhai's initials (MTK)
will replace the previous judge's initials in this case.


                                                                  MELISSA AUBIN
                                                                  Clerk of Court

cc:     Judge Kasubhai
        Counsel of Record
